Case 1:07-cv-01205-LG-RHW Document 300-10 Filed 11/13/09 Page1 of 37

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

GARY BRIGE MCBAY, |

Plaintitt, :
vs, Civil Action No. 1:07CV1205-LG-RHW

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HARRISON COUNTY, MISSISSIPPI} BY AND
THROUGH ITS BOARD OF SUPERVISORS;
HARRISON COUNTY SHERIFF GEORGE PAYNE;
WAYNE PAYNE; DIANE GATSON RILEY;
STEVE CAMPBELL; RICK GATSON; RYAN TEEL;
MORGAN THOMPSON, JOHN DOES 1-4,
AMERICAN CORRECTIONAL ASSOCIATION;
JAMES A, GONDLES, JR.; UNKNOWN DEFENDANTS
1-3 EMPLOYEES OF AMERICAN GORRECTIONAL
ASSOCIATION; HEALTH ASSURANCE LLC AND
UNKNOWN DEFENDANTS 1-2 EMPLOYEES OF
AMERICAN GORRECTIONAL ASSOCIATION,

Defendarts.
}

|
SUPPLEMENTARY AFFIDAVIT OF W. KEN KATSARIS

Before me, the undersigned authority, personally appeared W, Ken Katsaris, wha
being duly sworm, states: |
t
A. — [am currently a certified Florida Law Enforcement Officer/Instructor and
consultant in both Law Enforcement and Corrections. | have instructed in a wide area of
law enforcement and corrections subjects at the Regional Polles/Corrections Academies.
| also currently instruct in the nationally recognized AELE Police and Jail Liability Seminars
for attorneys and agency/|ail/prison commanders.
|

My experience includes service as both a jail and police officar for the St.
Petersburg Florida Polica Department, Police Officer with the Tallahassee Florida Police
Department, Trooper with the Florida Highway Patrol, the elected Constitutional Sheriff of
Leon County, Florida (Tallahassee), which included the management of the Leon Gounty
Jail. After leaving the office of Sheriff, | was appointed to the position of Assistant to the
Secretary of Corrections for the State of Florida Department of Corractions (DOC), with
laison responsibilities to all 67 of Florida's jails.

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EXHIBIT

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|

My academic Instructional background includes ten (10) years as the Department
Chairman of the Criminal Justice) Program at the Tallahassee Community College,
Tallahassee, Florida, where | taught both corrections and law enforcement courses, | also
served as Adjunct Professor in both Criminology and Social Work at the Florida State

University (Tallahassee, Florida), |
I

f am a certified use of ai instructor and have taught throughout the nation
consistently for over 15 years. | instruct on the use of force standards and procedures
for handling jail and prison inmates. | have been retained as a consultant by jails of all
sizes, including the largest jail in thé country, the Los Angeles County Jail. As a litigation
consultant | have been retained by both the plaintiff and defendant and have testified on
use of force issues in both state and federal courts.

During the tenure of two Florida Governors, | was appointed to the position of
Commissioner of the Florida Corrections Standards and Tralning Council where |
participated in setting policy and standards for all corrections agencies and officers in
Florida, Additionally, | have served as a consultant to the Florida Criminal Justice
Standards and Training Gammission in the development of a model basic training
program for all jail and prison officers in Florida.

|
B. To prepare for rendering opinions, | have reviewed and largely relied upon
tha following materials as the basis of my opinions:

1, See Exhibit "a"
i

C, The below listed opinions were formulated based on my experience, training
and education in the corrections field, the standard of care recognized by Corrections
Organizations and Officials throughout the U.S, as the custom and practice for the
administration, management and supervision of corrections agencies and personnel. The
opinions are based an my knowledge of the training of Corrections Officers throughout
the U.S. in addition to my knowledge of the written standards and materials generally
available for training and guiding Corrections Officers in their every day assignments.

|

D. A comprehensive review of all of tha materials routinely and customarily
available as a part of the contemporaneous official records of the Harrison County
Sheriff's Office reflecting prisoner booking, screening, and incarceration, relating to the
plaintiff and others, was carefully ; undertaken for this supplementary affidavit. The
comprehensive list of materials | listed on Exhibit "A" contains these records, and other
records which would not be a part of the contemporaneous processing and incarceration
records of any prisoner, but would be created as a result of later inquiries which, because
of timing and evidentlary standards, would not be part of the reasonable calculus of
evidences sither for internal investigations of personnel conduct following a complaint or
incident, nor would this later created material be used for an evaluation of the adequacy
of policy or the custom and practica of the Harrison County Sheriff's Office and the

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Case 1:07-cv-01205-LG-RHW Document 300-10 Filed 11/13/09 Page 3 of 37

operation of Its jall. Reasonable and reasoned evaluation must be made of evidence,
records, and inquires contamporaneous with the events being investigated. The Sheriff's
Office Inquiries would also rely on the documents, evidence, and reports of personnel
being truthful, and unless glaring inconsistencies exist, accept the information and reports
created by policy and procedure. Based upon this standard of review | render the below
supplementary opinions to my Affidavit of December 1, 2008 (attached as Exhibit "B").

1. The inquiry into the injuries received by Gary Brice McBay followed
the accepted and reasonable procedures, Tha Report of Incident
culminating in McBay's injuries was consistent with his drunken
condition as reported both by the arresting officer prior to the injuries
and the attending nurse after the encounter with the jail officer in the
shower during the attempts to have him dressed into jail clothing.
The report of the incident gave plausible accounts of the actions
taken in response to resistance encountered and reflected the use
of trained tactics for contral and restraint The specific dascription
of the mechanism of the injury was consistent with the injury itself,
Mr. McBay was characterized as very intoxicated even prior to his
arrest by Thomas Randazzo (Depo). Mr. Randazzo described a very
resistant and fighting McBay during his encounter with him in the
parking lot of the Choppers Lounge. In fact, Mr. Randazzo had to
defend himself from strikes edministered by McBay which included
Randazzo hitting McBay in the face before McBay was brought to a
prone position on the ground, with Randazzo sitting on him, while
they walted for law enforcement to respond. When the Harrison
County Deputy arrived, it was noted that McBay had a bloody nase
before being transported to the jail. Even Mr, Randazzo
acknowledged that McBay may have been scratched and bruised by
their encounter which would not have shown up until a later time.
Therefore, my opinion number one of the original affidavit remains
unchanged. .

2, Voluminous amounts of supplemental material was recelved since
the original affidavit of December 1, 2008 (Ses list 1-170 attached as
Exhibit *A") which was reviewed to determine if the internal
investigations of incidents involving the Harrison County Jail were
consistant, thorough and conclusive about the facts of the inquiry.
Also reviewed were the policies and procedures of the Harrison
County Jail to determine if they were reasonable and comported with
the accepted practices and standards of care. Additionally, the
internal investigation listed in the attached materials 1-170 were
reviewed for the purpose of analyzing if the Harrison’ County Sheriffs
Office accepted conduct by its personnel that either fell below the
accepted and established policies or if the conduct of its personnel

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established a pattern of practicing tactics and procedures that did
not comport with the accepted policy. My conclusions are:

(a)

(b)

The Interna! Affairs investigations of incidents reflect a
reasoned and consistent review of conduct and
application of official and accepted policy. All facts
were considered and reasonable application of
investigative procedures were applied to ferret out the
truth and underlying causation. Conclusions reached
for discipline or exoneration appeared consistent with
best practices and did not turn a "blind eye” toward
unacceptable conduct that could reasonably be
determined to have been below policy or standard of
care, which would have the effect of ratification of
policy other than the stated official policy of the
Harrison County Sheriff.

Therefore, it is my opinion that the policies of the
Harrison County Sheriff's Office, and the application of
the policies to the practices of the staff was reasonable
and absent of tha effect of the establishment of a
custom and practice different from the official policy.
The reported actions of the officers, in the events
analyzed, absent criminal intent to deceive which could
net be determined by facts and evidence to a
reasonable certainty, led reasonably to the conclusions
reasoned by the Sheriff's Inquiries.

E. H further discovery materials are provided, they will be thoraughly reviewed,

and may have an impact on the above opinions. If this should occur, these revisecl/new
opinions wil) be immediately revealed to the retaining party. | reserve the right to
supplement and amend my opinions based upon additional information provided to me.

F, As an attachment | incorporate Exhibit "C", a complete curriculum vitae
which cites a complete 36 year history | have as a member, instructor and consultant in
the Criminal Justice field and a list of cases in which | have testified as an expert at trial
or by deposition within the preceding four years. To date | have been paid $6,000.00,

Respectfully submitted this _4th _ day of September, 2009.

(CMB

W. Ken Katsaris
Case 1:07-cv-01205-LG-RHW Document 300-10 Filed 11/13/09 Page5 of 37

STATE OF FLORIDA
COUNTY OF LEON

Sworn and subscribed to this L sey of September, 2009, by W. Ken Katsaris, who

is personally known to me.

Sara S. Alligood, Notary Public

My Commission Expires:

SORES, BAAS. ALLIGOOD
a? re MY COMMISSION + DD anpaas
a i EXPIRES: June 14, 2018
Bonded Tru Pickard inauranos Agnney

Case 1:07-cv-01205-LG-RHW Document 300-10 Filed 11/13/09 Page 6 of 37

List and description of data or information reviewed by Expert:

1. Harrison County Sheriff's Office Offense Form - Incident No. 05-21728.

2. Uniform Arrest/Booking Form.

3. Criminal Affidavit - Public Drunk - Case No. 05-21728.

4, Sheriff Custody - Personal - Arrest Date 11-6-05.

5. Sheriff Custody - Event History 11/06/05 21:29 to 11/0705 13:32.

6. Booking Inquiry/Booking History.

7. Sheriff Custody - Medical Observations.

8. Nurses Notes - Health Assurance.

9. Post Assignment - 11-06-05.

10. =‘ Narrative Form - M. Thompson.

11. Use of Force Report.

12. Criminal History Report - Gary Brice McBay.

13. A copy of the insurance in effect at the time of the incident is enclosed.

14. Surveillance - Start 11/6/05 14:35 - stop 11/07/05 11:05.

15. Surveillance - 11/06/05 - booking.

16. Harrison County Adult Detention Center Policies and Procedures Directive, Use of Force.

17. Harrison County Adult Detention Center Policies and Procedures Directive, Use of
Restraints.

18. Harrison County Adult Detention Center Policies and Procedures Directive, Health Care
Services.

19. Harrison County Adult Detention Center Policies and Procedures Directive,
Chain of Command.

20. Harrison County Adult Detention Center Policies and Procedures Directive,
Booking and Receiving.

21. Harrison County Adult Detention Center Policies and Procedures Directive,
Classification.

22. Harrison County Adult Detention Center Policies and Procedures Directive,
Personal Property Inventory.

23. Harrison County Adult Detention Center Policies and Procedures Directive,

Security Supervision of Holding Cells.
24. Harrison County Adult Detention Center Policies and Procedures Directive,
Inmate Grievance.

25. Harrison County Adult Detention Center Policies and Procedures Directive,
Training for Correctional Officers.

26. Harrison County Adult Detention Center Policies and Procedures Directive,
Training Plans.

27. Harrison County Sheriff’s Department’s General Order #1, Code of Ethics.
28. Harrison County Sheriff's Department’s General Order #2, Incident Data Collection -
Basic Report Writing Rules.

[EXHIBIT }

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Harrison County Sheriff’s Department’s General Order #3, Directive & Memoranda
System.

Harrison County Sheriff's Department’s General Order #10, Weapons and Use of Force.
Harrison County Sheriff's Department’s General Order #16, Arrest Procedures.
Harrison County Sheriff’s Department’s General Order #17, Field Training Program.
Harrison County Sheriff's Department’s General Order #57, Employee Grievances.
Harrison County Sheriff's Department’s General Order #62, Employee Discipline.
Harrison County Sheriff's Department’s General Order #65, Professional Standards Unit.
Training Records for Leslie Mathis.

Training Records for Regina Rhodes.

Training Records for Kenneth Windham.

Training Records for Morgan Thompson.

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HCADC Policies and Procedures Directive, Facility Goals.

HCADC Policies and Procedures Directive, Security Promotions.

HCADC Policies and Procedures Directive, Personnel Selection and Retention.
Diagram of Jail.

Diagram of Booking department.

ACA Accreditation report August 2005.

ACA Visiting Committee Reports.

ACA Contract.

ACA 2002 Accreditation Contract.

ACA 2002 Siandards Compliance Audit.

ACA January I1, 2003, Commission on Accreditation for Corrections Panel Action
Report.

ACA 2005 Accreditation Contract.

ACA 2005 Standards Compliance Audit.

ACA August 6, 2005, Commission on Accreditation for Corrections Panel Action Report.
ACA Performance Based Standards for Adult Local Detention Center.

Harrison County Grand Jury members of March, 2000, report dated September 6, 2000.
Harrison County Grand Jury members of September, 2000, report dated March 6, 2001.
Harrison County Grand Jury members of March, 2001, report dated September 7, 2001.
Harrison County Grand Jury members of September, 2001, report dated March 5, 2002.
Harrison County Grand Jury members of March, 2002, report dated September, 2002.
Harrison County Grand Jury members of September, 2002, report dated March, 2003.
Harrison County Grand Jury members of March, 2003, report dated September 2, 2003.
Harrison County Grand Jury members of September, 2003, report dated March 4, 2004,
Harrison County Grand Jury members of March, 2004, report dated September 13, 2004.
Harrison County Grand Jury members of September, 2004, report dated March 11, 2005.
Harrison County Grand Jury members of March, 2005, report dated November 15, 2005.
Harrison County Grand Jury members of November, 2005, report dated March 6, 2006.
Steve Martin’s Reports dated, March 4, 1997, October 30, 1997, July 17, 1998, July 25,
2000, April 20, 2001,and February 20, 2002.
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68. United States Department of Justice, Housing of Federal Prisoners Agreement: effective
date December 1, 1981.

69. United States Department of Justice, Housing of Federal Prisoners, Modification One of
Agreement; effective date June 1, 1986.

70. United States Department of Justice, Housing of Federal Prisoners; Modification Two of
Agreement; effective date January 1, 1987.

71. United States Department of Justice, Housing of Federal Prisoners; Modification Three of
Agreement, effective date November 1, 1990.

72. IA Report; [A2002-81

73. JA Report; [A2003-05

74. IA Report; 1A2003-06

75. IA Report; [A2003-08

76. IA Report; 1A2003-11

77. IA Report; 1A2003-14

78. A Report; [A 2003-15

79. TA Report; [A2003-19

80. IA Report; [A2003-21

81. IA Report; [A2003-22

82. IA Report; IA2003-24

83. IA Report; [A2003-29

84. IA Report; IA October 23, 2003

85. IA Report; LA2003-340

86. IA Report; [A2003-44

87. IA Report; IA2004-01

88. IA Report; [A2004-02

89. IA Report; IA 2004-03

90. IA Report; IA2004-04

91. TA Report; IA2004-08

92. IA Report; IA2004-09

93. [A Report; [A2004-13

94. IA Report; IA2004-18

95. JA Report; [A2004-19

96. JA Report; [A2004-20

97. JA Report; IA2004-22

98. JA Report; [A2004-27

99. _IA Report; 1A2004-29

100. Letter of Disciplinary Action of Martin Lipscomb, January 31, 2005

101. Letter of Disciplinary Action of Michael Minor, January 31, 2005

102. Letter of Disciplinary Action of Jerred Necaise, January 31, 2005

103. Letter of Disciplinary Action of Justin Branning, January 31, 2005

104. Letter of Written Reprimand Jeffrey Brawner, January 31, 2005

105. IA Report; 1A2004-30

106. IA Report; IA2005-03

107. IA Report, 1[A2005-05
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1A Report, [A2005-06

IA Report, 1A2005-07

Letter of Disciplinary Action of Daniel Evans, May 6, 2005
Investigative Interview of Smoky Joe Wilson, April 8, 2005

IA Report, IA2005-10

IA Report, [A2005-14

IA Report, [A2005-16

IA Report, 1A2005-18

IA Report, 1A2005-25

IA Report, JA2005-34

Notice of Hearing of Dedri Caldwell, August 16, 2005

Letter of Disciplinary Action for Dedri Caldwell, August 18, 2005
Administrative Leave Letter for Dedri Caldwell, December 12, 2005
Letter of Disciplinary Action for Dedri Caldwell, December 21, 2005
Written Reprimand to Justin Richards, January 11, 2006

Written Reprimand to Dereck Blankinchip, January 11, 2006
Notice of Hearing to Kenneth Roberson, January 3, 2006

Written Reprimand to Kenneth Roberson, January 11, 2006
Written Reprimand to Morgan Thompson, January 11, 2006
Notice of Hearing to James Nicholson, January 6, 2006
Termination Notice to James Nicholson, January 13, 2006
Written Reprimand to Ben Lamey, January 11, 2006

IA Report, I[A2006-02A

IA Report, [A2006-04

Notice of Hearing to Dereck Blankinchip, January 30, 2006
Letter of Disciplinary Action to Dereck Blankinchip, February 8, 2006
Notice of Hearing to Eddie Collins, January 23, 2006

Letter of Disciplinary Action to Eddie Collins, January 26, 2006
IA Report, [A2006-05

Notice of Hearing to Daniel Evans, March 29, 2006

Letter of Disciplinary Action to Daniel Evans, April 4, 2006
Letter of Disciplinary Action to Karl Stolze, April 4, 2006

Officer Resignation Report for Karl Stolze, October 2, 2006

IA Report,IA2006-06

IA Report, investigation of complaint by Gretchen Bravo, March 29, 2006
IA Report, [A2006-16, April 27, 2006

IA Report, [A2006-21, May 22, 2006

Letter of Reprimand to Damon Reese, November 6, 2000

Letter of Reprimand to James Harrier, December 19, 2000

Letter of Reprimand to Richard Francabandera, August 12, 2003
Notice of Hearing to John Geas, August 28, 2003

Informational Report regarding John Geas, August 29, 2003
Resignation Acknowledgment to Jay 8. Cox, January 5, 2005
Letter of Disciplinary Action to Lee Jackson, March 16, 2005
Notice of Hearing to Jerred Necaise, May 5, 2005

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Resignation acknowledgment of resignation of Jerred Necaise, May 9, 2005

Office Termination Report for Regina Rhodes, April 17, 2006

Notice of Administrative Leave to Ruben Perez, May 24, 2006

Letter of Resignation from Ruben Perez, May, 2006

Letter of Disciplinary Action to William Priest, January 19, 2007

Harrison County Sheriff's Department Count Sheet- 2003

Harrison County Sheriff's Dept. Classification Block Accountability-2004

Harrison County Sheriffs Dept. Classification Block Accountability-2005

Harrison County Sheriff's Dept. Classification Block Accountability-Jan. 2006

HCADC - Booked In/Released Inmates Chart; 2000 - 2006, and all supporting documents.
HCADC - Grievances Filed Chart; 2000 - 2006, and all supporting documents.
HCADC- Grievances Filed Chart regarding officer misconduct; 2000-2006 and all
supporting documents.

HCADC - Programs/Services Count; 2000 - 2006, and supporting documents.

Monthly Statistical Reports, 2000 - 2006.

Inter Office Memo from Capt. Taylor - Inmate Grievance Report dated August 22, 2000.
Inter Office Memo from Capt. Rick Gaston- Handling of Inmates dated April 12, 2005.
Jail Meeting April 20, 2005- Roster and Memorandum of Understanding.

Letter to Steve Martin from Captain Phil Taylor, May 24, 2006.
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

GARY BRICE MCBAY,
Plaintiff,
Vs. Civil Action No. 1:07CV1205-LG-RHW

HARRISON GOUNTY, MISSISSIPP! BY AND
THROUGH ITS BOARD OF SUPERVISORS;
HARRISON COUNTY SHERIFF GEORGE PAYNE;
WAYNE PAYNE; DIANE GATSON RILEY;

STEVE CAMPBELL; RICK GATSON; RYAN TEEL;
MORGAN THOMPSON, JOHN DOES 1-4,
AMERICAN CORRECTIONAL ASSOCIATION;
JAMES A. GONDLES, JR.; UNKNOWN DEFENDANTS
1-3 EMPLOYEES OF AMERICAN CORRECTIONAL
ASSOCIATION; HEALTH ASSURANCE LLC AND
UNKNOWN DEFENDANTS 1-2 EMPLOYEES OF
AMERICAN CORRECTIONAL ASSOCIATION,

Defendants.
/

AFFIDAVIT OF W. KEN KATSARIS

Before me, the undersigned authority, personally appeared W. Ken Katsaris, who
being duly sworn, states:

A. | am currently a certified Florida Law Enforcement Officer/Instructor and
consultant in both Law Enforcement and Corrections. | have instructed in a wide area of
law enforcement and corrections subjects at the Regional Police/Corrections Academies.
| aiso currently instruct in the nationally recognized AELE Police and Jail Liability Seminars
for attorneys and agency /jail/prison commanders.

My experience includes service as both a jail and police officer for the St.
Petersburg Florida Police Department, Police Officer with the Tallahassee Florida Police
Department, Trooper with the Florida Highway Patrol, the elected Constitutional Sheriff of
Leon County, Florida (Tallahassee), which included the management of the Leon County

= EXHIBIT. oa

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Jail. After leaving the office of Sheriff, | was appointed to the position of Assistant to the
Secretary of Corrections for the State of Florida Department of Corrections (DOC), with
liaison responsibilities to all 67 of Florida’s jails.

My academic instructional background includes ten (10) years as the Department
Chairman of the Criminal Justice Program at the Tallahassee Community College,
Tallahassee, Florida, where | taught both corrections and law enforcement courses. | also
served as Adjunct Professor in both Criminology and Social Work at the Florida State
University (Tallahassee, Florida).

| am a certified use of force instructor and have taught throughout the nation
consistently for over 15 years. I instruct on the use of force standards and procedures
for handling jai! and prison inmates. | have been retained as a consultant by jails of all
sizes, including the largest jail in the country, the Los Angeles County Jail. As a litigation
consultant | have been retained by both the plaintiff and defendant and have testified on
use of force issues in both state and federal courts.

During the tenure of two Florida Governors, | was appointed to the position of
Commissioner of the Florida Corrections Standards and Training Council where |
participated in setting policy and standards for all corrections agencies and officers in
Florida. Additionally, | have served as a consultant to the Florida Criminal Justice
Standards and Training Commission in the development of a model basic training
program for all jail and prison officers in Florida.

B. To prepare for rendering opinions, | have reviewed and largely relied upon
the following materials as the basis of my opinions:

1. Complaint

2. Answer, Defenses and Ajfirmative Defenses of Defendant Steve
Campbell

oe Answer, Defenses and Affirmative Defenses of Defendant Dianne
Gatson-Riley

4, Answer, Defenses and Affirmative Defenses of Defendant Sheriff

George Payne, Jr.

5. Answer, Defenses and Affirmative Defenses of Defendant Wayne
Payne

6. Pre-Discovery Disclosure of Core Information by Defendants

7. Video Surveillance (Booking Room)
Case 1:07-cv-01205-LG-RHW Document 300-10 Filed 11/13/09 Page 13 of 37

8. Inmate Handbook

C. The below listed opinions were formulated based on my experience, training
and education in the corrections field, the standard of care recognized by Corrections
Organizations and Officials throughout the U.S. as the custom and practice for the
administration, management and supervision of corrections agencies and personnel. The
opinions are based on my knowledge of the training of Corrections Officers throughout
ihe U.S. in addition to my knowledge of the written standards and materials generally
available for training and guiding Corrections Officers in their every day assignments.

D. Pursuant to engagement by attorneys for the Defense in the above named
case, | conducted an exhaustive review of all of the above materials. As a result of the
review of these materials, which | relied upon as the basis for my opinions, | render the
below opinions:

1, Nothing in the above reviewed materials, other than the Complaint,
would indicate any force used by the Harrison County Corrections
Officers resulted in injuries to Mr. Gary Brice McBay. | cannot at this
time, with the above materials, find that officers used excessive,
unreasonable or punitive force against Mr. McBay. The discovery
materials are limited at this time and the booking/cell videos do not
reveal any activity that could be characterized as excessive force.

2. The policies and training of the Harrison County Sheriff's Office Jail
were reasonable and comport with the nationally recognized
standards of care.

3. | am unable to render an opinion on the issues of the county having
a "history" or having recognized a “custom and practice" of excessive
force. Such claims can only be supported by an intense review of
the actual incidents and the files, forms, investigations, and videos
that were made contemporaneously with each of the uses of force
over a specified period of time. No other information, testimony or
evaluations would be appropriate to render such an opinion. To date
| have not been provided the comprehensive compilation of
contemporaneous reports forms, videos, or investigations for each
incident of force for any period of time to allow for a legitimate
Opinion about the issue of any established or condoned practices
that violate established policies for inmate control, movement or
processing.

E. if further discovery materials are provided, they will be thoroughly reviewed,
and may have an impact on the above opinions. If this should occur, these revised/new
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opinions will be immediately revealed to the retaining party. | reserve the right to
supplement and amend my opinions based upon additional information provided to me.

F. As an attachment | incorporate Exhibit "A", a complete curriculum vitae
which cites a complete 36 year history | have as a member, instructor and consultant in
the Criminal Justice field and a list of cases in which | have testified as an expert at trial
or by deposition within the preceding four years. To date | have been paid $6,000.00.

Respectfully submitted this _1st__ day of December, 2008.

W. Ken Katsaris

STATE OF FLORIDA
COUNTY OF LEON

Sworn and subscribed to this / a day of December, 2008, by W. Ken Katsaris, who is
personally known to me.

Do of Bite foe

Sara S. Alligood, Notary Public

My Commission Expires:

EXPIRES: June 16, 2008
Bonded Thru Pichard insuranos Agency

Case 1:07-cv-01205-LG-RHW Filed 11/13/09 Page 15 of 37

W. KEN KATSARIS i ‘ Soe ceneee rt
Law Enforcement, Corrections i ae tat
and Private Security
Consultant/Trainer

Addresses:
Post Office Box 12008
Tallahassee, Florida 32317-2008

Or:
110-4 South Monroe Street
Tallahassee, FL 32301

(850} 224-2929 Phone ;
(850) 224-2828 Fax
(850) 309-1074 Fax

a
CURRICULUM VITAE

EXPERIENCE OVERVIEW ,

Began as a City of St. Petersburg, Florida Police Officer/Jail Officer in 1962, has served as a Deputy Sheriff and
State Trooper and elected Sheriff and Chief Law Enforcement Officer of 700 square mile Leon County, Florida,
encompassing Tallahassee (Capital of Florida). Directed the operation of the Leon County Jail including its
medical, inmate, and security programs. Directed a top to bottom physical renovation of the jail which resulted
incommunity and newspaper editorial praise. Also served as Assistant to Secretary of the Florida Department
of Corrections, assisting in the administration and operation of the nation's fourth largest prison system.
Currently maintains a Swom, Active Deputy Sheriff's Commission with the Leon County Sheriff's Office provid-
ing training at the Regional Police and Corrections Academy. Has been an instructor at this Regional Acad-
emy consistently and currently for over 25 years. Previously served for over 25 years as an adjunct instructor
at the Florida Highway Patrol Academy. Maintains a fui-time private consulting position providing training,
litigation consulting, and agency consulting nationally. Has been retained to provide litigation support as an
expert in police, corrections and/or private security policy, procedures, training and supervision for both the
defense and plaintiffs in all 50 states, Guam, Puerto Rico and the District of Columbia, as well as in Canada
and Australia, Served on statewide Private Security Advisory Council for Florida Department of State setting
standards, training requirements, and licensure for the deployment of armed and unarmed private security

officers throughout Florida.

EXHIBIT,

Has provided either Law Enforcement, Jail, Prison or Security Consulting, including Training, to officers both
public and private from all 50 states, Including Deputy Sheriffs, Police Officers and Corrections Officers from
several thousand city and county agencies, numerous State Corrections Departments and all 50 State Police
agencies, as well as Officers and Agents from alll of the Federal Law Enforcement and Corrections agencies,
(FBI, Border Patrol, DEA, CIA, U.S. Marshals Service, BATF and the U.S. Bureau of Prisons). Through agency
involvement in consulting, training, and litigation, has provided policy development assistance for city, county
and state agencies, both law enforcement and corrections. Has coordinated and taught in seminars spon-
sored by the International Association of Chiefs of Police (ACP). Currently holds the position of Senior
Instructor with AELE and provides instruction on contemporary Police and Jail/Prison Procedures, provided
instruction on the internal affairs investigation process, procedures and legal issues. Also currently is course
director and instructor of AELE’s Critical Incident seminar focusing on SWAT deployment, operations, training

and tactics.

Recognized for his leadership style and achievements as Sheriff by U.S. News & World Report as well as The
New York Times and newspapers nationwide prior to being thrust into the national spotlight while directing the
Theodore Bundy Serial Murder investigation. Directed the Tallahassee investigation that resulted in Ted Bundy’s
imprisonment, and the supervision of the incarceration of Ted Bundy in the county jail for over two years. Bundy
was convicted, sentenced and executed, after the Governor of Fiorida signed two death warrants, one of which

was for the Tallahassee murders.

Has earned the Associate In Arts (AA) Degree in Police Administration, as well as the Bachelor of Science
(BS) and Master of Science (MS) Degrees in Criminology from Florida State University, and has completed the
academic course requirements toward the Doctorate in Public Administration (DPA} at Nova University, Ft.

Lauderdale, Florida.
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POLICE ACADEMY TRAINING TAUGHT by W. Ken Katsaris:

INSTRUCTOR: FLORIDA HIGHWAY PATROL ACADEMY, (Recruits and In-Service Retraining
Sessions for Supervisors, Command Officers, Troopers, Communications Officers
and Communications Supervisors) 1968-1997. s

Areas of Instruction Provided by W. Ken Katsaris:

Vehicle Pursult Pollcy/Procedures.
Emergency Vehicle Operations.

Use of Force and Deadly Force
Investigation Procedures

Crime Scene Processing

Supervision Procedures
Communications Officers Tralning
Communications Supervisors Training
911 Procedures

Accident Scene Protection

Traffic Homicide Investigation

Policy Issues for Command Officers
Preliminary /Follow-up Investigatlons
Crimes Agalnst Property (Burglary)
Child Abuse/Neglect Investigations
Sexual Assault/Battery Investigailons
Vice Crimes Investigatlons

Traffic Stop Procedures

INSTRUCTOR: LAW ENFORCEMENT ACADEMY, Pat Thomas Criminal Justice Academy,
Six County Area Police Officers, Deputy Sheriffs, Campus Pollce and State

Officers — 1968 - present.

Areas of instruction Provided by W. Ken Katsaris:

Police Ethics

Vehicle Pursuit Policy/Procedures

Driver Skills (at Range)

instructing Driving Instructors

Emergency Vehicle Operations Policy
(Ambulance and Police}

Firearms Policy/Use of Deadly Force

Deadly Force Decisions

Firearms Shooting Skills (At Range)

InstructIng Flrearms Instructors

Weapons Carry and Use Law

Arrest, Procedures and Law

Use of Force Policy and Procedures

Criminal Law

Traffic Stop Procedures

High Risk/Vehicle Stops

Hostage and Barricade Response

Crowd Control Procedures/Law

Patrol Hazards, Procedures

Foot Pursult Procedures

Prisoner Transport

Prisoner Restraint

Mental illness: Police Procedures

Substance Abuse: Police Procedures

Mental Retardation

Weapons, Explosives, Weapons of Mass
Destruction (Law)

Warrant Procedures

Probable Cause

Sexual Battery

Assault and Battery

Concepts of Evidence/Evidence Rules

Preliminary/Follow-Up Investigations

Homicide Investigation Procedures

Stalking |nvestigatlons/Law

Missing Children Investigations

Attempts /Conspiracy/Solicitation

Search and Selzure Law/Procedures

Informant Control/Procedures

Emergency Commitment Procedure

Obstruction of Justice

Officer Survival Considerations

Crisls Intervention/Domestic Violence

Recognizing, Approaching and Handling
Emotionally Disturbed Persons

Sexual Harassment/Hostile Work

Environment

Instructor Techniques: Certificatlon course
for Police Instructors

Gang Recognitlon/Tactics

INSTRUCTOR: FLORIDA MARINE PATROL ACADEMY
State Officers assigned patrol duties on open ocean water, 1985-1991

e Pursuit Procedure/Pollcy: Vehicles and Boats

INSTRUCTOR: FLORIDA GAME AND FRESH WATER FISH COMMISSION ACADEMY
* Pursuit Procedure/Pollcy, Use of Force, 1985-1991
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NATIONAL POLICE SEMINARS/COURSES TAUGHT by w. Ken Katsaris

INSTRUCTOR: "STREET SURVIVAL" FOR POLICE, CORRECTIONS AND PRIVATE SECURITY

OFFICERS. Seminars throughout the USA sponsored by City, County,
State and Federal Police Agencies. Training seminars In 25 states attended by
over 20,000 officers from all 50 states,thousands of cities and counties, federal
agencies, the Royal Canadian Mounted Pollce and Canadian Provinces, as well as
hundreds of Jall and prison officers and supervisors from county Jails and the U.S.
Bureau of Prisons. 1989-1991.

Areas of Instruction Provided by W. Ken Katsaris:

Vehicle Pursults Policy » Internal Investigation Procedures
Emergency Response Poilcy » Recognizing, Approaching and Handling the

Use of Force

Mentally Ill and Emotionally Disturbed

Prisoner Restraint Person/Inmate
Prisoner Transporting e High Risk/Risk Unknown Vehlcle Stops
Approach and Arrest e Domestic Violence Intervention
Impact Weapons ¢ Drug Interdiction Tactics and Procedures
Chemical Sprays e Procedures used to Investigate Officers
Compression Asphyxia Conduct Administratively and
Procedures for Investigating and Criminally, involving Police, Jail and
arresting members of Satanic Cults Prison Officers
and Street Gang members e Handcuffing Tactics
Defensive Tactics for Arrest and Control » Single and Multiple Officer Patrol Tactics

INSTRUCTOR AND SEMINAR COORDINATOR: IACP

1ACP: International Association of Chiefs of Police. Management of the
investigative Function: Investigation of Serial Murders (Specialty developed as
result of directing the Theodore Bundy Murders, Tallahassee, Florida).

Attended by Investigation Commanders from throughout the USA, 1984-1986 in

Nashville, Tennessee and Tampa, Florida.

INSTRUCTOR: AELE: Americans for Effective Law Enforcement, Senior Instructor for national

seminars. The attendees are primarily police governmental defense attorneys
and law enforcement managers and commanders. 1992 - present.

AELE is a non-profit organization providing educational, legal and other
professional services and assistance to the natlons law enforcement and
corrections agencies, and files Amicus Briefs in cases involving law
enforcement and corrections Issues.

POLICE CIVIL LIABILITY SEMINAR (AELE) 1992-Present

Areas of Instruction Provided by W. Ken Katsaris: (Senior Instructor)
In Custody Deaths from Restraining Methods/Issues
Restraint/Transporting Methods/Issues
In-Custody Injuries (Handcuffs, Chemlcals, K-9, Batons, Physical Force) Suicides.
Pollce Pursults (Tactics, Policies, Procedures, Investigations)
Emergency Response Procedures/Poticy
Use of Force (Deadly-Non-Deadly) Training, Decision Making, Weapons, Tactics, Batons,
Handcuffs, Chemical, Restralnts, K-9, Electronic Restraints (Taser, Stun Gun)
Less Lethal Munitions/Applications and Issues
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NATIONAL POLICE SEMINARS/COURSES TAUGHT by W. Ken Katsaris (continued)

RACE AND THE POLICE SEMINAR (AELE) 2001-Present

Areas of Instruction Provided by W. Ken Katsaris: (Senior Instructor)
Ractal Profiling Claims and Definitions
Polica Detention and Inquiry
Police Communications issues (Radio/MDT’s)
Race Identification Issues
Police Vehicle Stops/Searches
Use of K-9's at Stops
Probable Cause vs. Reasonable Suspicion vs. Racial Profiling
Use of Expert Witnesses for Plaintiff and Defense
Complaint Processing

CRITICAL INCIDENT RESPONSE: MANAGEMENT AND LEGAL LIABILITY SEMINAR
(AELE) 2002 - Present

Areas of instruction and Course Development Provided by W. Ken Katsaris
(Course Director and Senior Instructor)
Course Director Role
Develapment of Course Topics
Overall Direction of Training Issues
Review of Course Outlines and Instructors
Monitoring of Course Presentation
Facilltation Between Presenters and Attendees

Areas of instruction

High Risk Entries Preparation, Surveillance, Assignments and Equipment Use
High Risk Warrant Service vs. High Risk Response to known Violent Subjects
Responding to the Mentally Ill and the Substance Abuser

Responding to the Sulcidal/Suicide by Cop

Responding to the Active Shooter

Use of K-9's Policy and Procedure

Affects of Critical Incident on Officers

Reaction Time/Suspect Movements, and Shot Placement

EMPLOYEE DISCIPLINE AND LABOR SEMINAR (AELE) 1996-1998

Areas of Instruction Provided by W. Ken Katsaris:

e Organizatlon/Administration of Internal « Outside Employment

Affairs Unit » Search and Monitoring Procedures/Policy
» Interviews/Interrogations of e Progressive Discipline

Accused /Implicated Officers e Conducting Internal Investigations

e Off-Duty Activities

LAW MEDIA INSTRUCTOR (AELE) 2001-Present (Distributed nationally}

CD Rom Training Programs Instructed by W. Ken Katsaris

e Officer Safety at Traffic Stops e Miranda for Patrol Offlcers

e Strip Searches by Police e Interrogation Law: Special Situations

® Shooting Mistakes and Qualifled e Interrogation Law: Reinterrogation and Trickery
Immunity

* Interrogation Law for Patrol Officers
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POLICE/LAW ENFORCEMENT EXPERIENCE

FULL TIME POLICE EXPERIENCE

@ St. Petersburg Police Department, St. Petersburg, Florida Police Department, 1962-1966.

Uniform Patrol Investigations
Preliminary Investigations Evidence Collection, Identification, Preservation

Traffic Accident Investigation Crime Scene Investigatlon and Processing
Reconstruction Specialist Crime Scene Photography

Riot and SWAT Team Member Latent Fingerprint Examiner

Prisoner Transportation Unt

Mobile Crime Unit Technician

@ Sheriff of Leon County, Tallahassee, Florida, January 1977 - January 1981.
Sheriff and Chief Law Enforcement Officer of Leon County encompassing almost 700 square
miles, including the Florida Capltal City of Tallahassee. The Sheriff is also the Chief
Correctional Officer and administers the Leon County Detention Facility.

e Drafted Manual of Policles and Procedures for Law Enforcement Operations
e Drafted Manual of Policies and Procedures for Jall Operations

As Sheriff of Leon County, Personally Developed, Implemented, or restructured and Supervised:

Law Enforcement Programs

e Crime Prevention Program (Malls, e Personnel Unit (Background Investigations,
Apartment Complexes, Oral and Written Boards)

Neighborhoods, Businesses, Schools, e Communications /Dispatch Center
Banks, Hotels) * 911 Center

e Narcotics Investigations e Civil Process

e Helicopters/Fixed Wing Aircraft e Warrant Service: Fugitive/High Risk

e K-9 Unit Teams/Training e Investigations

® Tactical Unit (SWAT) e Court Security

e Patrol Division e Internal Investigations

e Traffic Control /Investigations e Crime Scene Processing

e Major Crime Task Force e Intelligence (Street and Motorcycle Gangs

e Juvenile Crlmes Investigations and Organized Crime Activity)

» Firearms Range e Citizen Firearm Training

© City of Tallahassee Police Officer, Florida, 1975-1977 (part-time classiflcation, full-time hours)

* Traffic Control e Arrest Prisoner Transport
e Traffic Accident Investigation e Patrol
e Domestic Intervention e Preliminary Investigation of Crimes

PART-TIME EXPERIENCE

@ Leon County Deputy Sheriff, 1997 - present.
Part-time Sworn Deputy Sheriff providing Patrol, Field Tralning Evaluation and Recruit Training.
(Involvement while maintalning full-time commitment to Regional and National Training and

Consulting.)
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POLICE/LAW ENFORCEMENT EXPERIENCE (continued)

@ Florida Highway Patrol Trooper, 1992 - 1997.
Part-time Sworn uniformed State Trooper with primary responsibilities as advisor to Director (Col.B.R.
Burkett) and Academy Instructor. (See Areas of Instruction, Page Two) (Services provided while
maintaining full-time commitment to Regional /Natlonal Training/Consutting.)

@ Florida Highway Patrol Policy Advisor, 1981-1993.
Pollcy Advisor to Director 8.R. Burkett. Pollcy development and review for Pursults, Firearms, Use of

Force, Batons, Disciplinary Procedures and Revlew, Internal Affairs.
Also review of all police Involved shootings by State Troopers, advise Col. B.R.Burkett of liability Issues

and training implications.

@ Crime Lab Director and Technician, Tallahassee Community College, 1967 - 1977 (as requested).
Utilized Criminal Justlce Program Teaching Crime Lab on Campus to provide services to City Police
for Pretiminary Criminal Evidence Processing and Evaluation

Lie Detection

Crime Scene Reconstruction
Photography

Drug Identiflcation

Firearms Evidence

Bullet Trajectory Evaluation
Gunshot Residue Collection
Blood Splatter Evaluation
Fingerprints

CORRECTIONS/JAIL/PRISON EXPERIENCE

@ St. Petersburg City Jail, Jail Officer, (assigned from Pollce Patrol), 1964-1966. Screening,
Classification, Booking, Transportatlon, Custody.

@ Certified, JAIL AND PRISON MANAGEMENT, Florida Department of Corrections, 1977.
Certiflcation through Natlonal Institute of Corrections.

@ Leon County Jail Administrator, as Sheriff Supervised Jail Director and all Personnel, drafted and
Implemented Policies and Procedures, renovated and modernized the physical plant and periodically
worked the floors and transported high-risk prisoners. 1977-1981.

Jail Programs Developed_and Implemented

e Booking and Classification Procedures © Religious
» Medical Screening * Searching
e Medical Unit (Doctor, Nurses, Facility) e Custody and Security
» Recreation e Suicide Intervention/Prevention
* Visitation e Work Release
e

Emergency Procedures (Escape, Riot, Fire)

® Florida Depariment of Corrections, Assistant to Secretary of Corrections
Full time Employment 1981-82. The Department of Corrections oversees all facets of prison
management and Inmate programs as well as probation and parole and provides, by law, inspections
of all 67 county jails. (Over 25,000 inmates in 80 institutions and over 70,000 on Probation and Parole

Supervision in 1982).
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CORRECTIONS/JAIL/PRISON EXPERIENCE (continued)

@ Fiorida Department of Corrections Assignments

Assisted the Secretary of the Florida DOC in:

» Administrative Decision Making e Jall and Prison Training Curriculum

e Polley Determination * Review of Jail Inspectors Investigations on Jail
e Institutional Troubleshooting Suieldes from all Jalls in state

e Inmate Grievances « Standards for State Prisons and Jalls

e Statewide Jall Procedure and Rules e Accraditation Standards

e Lialson to Governor's Office on Jait and « Liaison to Criminal Justice Standards and

Prison Matters Tralning Commission

» Lialson to all Sheriffs on Jall Procedures Review of Injury Reports and Unusual
Occurrences In County Jails

@ COMMISSIONER, State of Florida, Correctional Standards Council, 1977-1981.
Appointed by Governor Askew and reappointed by Governor Graham. Seven Member Policy
Board for all Standards for all Correctional Officers, City, County, State. 1977-1981.

e Standards for Correctional Officer e Training Programs for all Correctional Officers
Selection (State and County)

e Standards for Correctional Officer « Training Curriculum Development for
Retention Correctional Officer Training and Retralning

e Facilities and Institutlon Standards

@ CONSULTANT, FLORIDA CRIMINAL JUSTICE STANDARDS AND TRAINING COMMISSION,
1981-1982.
Development of 320-hour basic training program for state and local Correctional Officers.
Member of Committee.

@ INSTRUCTOR: Corrections Academy, Pat Thomas Criminal Justice Academy, 1983-1995 and
2000-Present.

Areas of Instruction Provided by W. Ken Katsaris:

Constitutional Law

CNil and Criminal Liability

Elements of Crimes

Cell Searches

Classification and Cell Assignment
Restraining and Transporting Prisoners
Hostage Negotiation

How to Survive Being a Hostage
Bribery /Per|ury

Classiflcation of Offenses

Sulcide Prevention/Intervention

Inmate Rights

Officer Rights /Responsibllitles

Crisis Intervention

Use of Force

Emergency Procedures Including:
Fire, Riot, Escape, Bomb Threat

« Inmate Movement

@ INSTRUCTOR: AELE: Americans for Effective Law Enforcement, 1987-Present.
Chicago, lilinois. Senior Instructor for national seminars. The attendees are
primarily correctlons governmental defense attorneys and state and county
corrections managers, commanders, and officers.

AELE is a non-profit organization providing educational, legal and other
professional services and assistance to the natlons law enforcement and
corrections agencles.
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CORRECTIONS/JAIL/PRISON EXPERIENCE (continued)

JAIL AND PRISONER LEGAL ISSUES SEMINAR AELE 1993-Present
Areas of Instruction Provided by W. Ken Katsaris: (Senior Instructor}

» In Custody Deaths and Injuries e Staff Use of Force/Investigatlon
e Suicides: Prevention, Intervention, Restraint Issues /Appllcation

Warning Signs, Cell Design Prisoner Transportatlon/Movement
Natlonal Standards Staff Training Needs/Assessment
Theories of Liability Staff Allocation/ Staffing
Failure to Protect Staffing Direct/Indirect Supervision

Cell Extractlons Special Housing Issues

@ INSTRUCTOR: U.S. Bureau of Prisons, 1968-1969.
Federal Correctional Institution, Tallahassee, Florida. Staff Development Training.

Correctional Policy and Procedure, Custody and Security.

@ INSTRUCTOR: U.S. Bureau of Prisons, 1968-1969.
Federal Correctional Institution, Tallahassee, Florida. Inmate Education in Criminal

Justice.

PRIVATE SECURITY EXPERIENCE

@ Private Security Advisory Council, PSAC, Florida Department of State, Member, 1987-1990.
Advised Secretary of State on all Licensing and Tralning Matters relating to Private Employment of
Security Guards and the Licensing and Training of Private Investigators. Chairman of Flrearms License
Committee. Assisted in writing the training manual for Private Security Guards for the State of Florida.

@ Campus Security Director, Tallahassee Community College, 1968-1977.
Hired, trained and supervised full-time force of Security Officers providing campus-wide security, traffic
control, crime prevention and crime investlgatlon for 3000 member student body campus as part of
duties of Criminal Justice Program Chairman.

@ Private Security Services: As Sheriff of Leon County, Florida, 1977-1981.
Under Contract to Apartment Complexes, Hotels/Motels, Shopping Malls and Banks. Provided and
trained off duty Deputies for private security under contract to private entitles. Both uniformed guard
and plain clothes assignments were carried out. Deputies paid directly by private entity. Authority
from Sheriff, supervised by Sheriff.

@ Private Security Consulting: As Sheriff of Leon County, Florida, 1977-1981.
On-site Crime Surveys, Evaluations, and Presentations on Security Needs to Management of Hotels,
Campuses, Liquor Licensees, Shopping Centers and Apartment Complexes.

® Private Security Officer: St. Petersburg, Florida, 1964-1966.
Off-duty, armed private security for campus, shopping center and special assignment activities as St.
Petersburg, Florida Police Officer.

@ Litigation Consulting for Plaintiffs and Defense, 1982-Present.
Review of Premises, Evaluatlon of Procedures and Policy and Testifying on Premises Liability Issues
in Hotel, Apartment, Shopping Center, Campus Cases.

@ Certified, Security of Convenience Stores, Inspector, February, 1994.
Attorney General's Office, Florida Crime Prevention Institute. 40-Hour Certifleatlon Course.
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PRIVATE SECURITY EXPERIENCE (continued)

@ Certified, Commercial Security, July, 1994.
Attorney General's Office, Florida Crime Prevention Institute. 40-Hour Certification Course for Security

of Apartments, Businesses, Shopping Centers, Parking Lots, Hotels and Motels.

EDUCATION

@ Post Masters Studies, Nova University, Fort Lauderdale, FL. Public Administration, 1982.
Completed a five year course of study. (Classroom courses listed below}.

® Master of Science Degree in Criminology, Florida State University, Tallahassee, FL, 1971.
Master Thesis Topic: An Exploratory Study of Police Recruit Training as Mandated by the
Florida Police Standards Act 1967. Internship completed in college teaching of pollce and
corrections subjects. (Classroom courses listed below)

® Bachelor of Science Degree in Criminology, Florida State University, Tallahassee, FL 1967.
Dual Major in Law Enforcement Procedures/Management and Jail and Prison
Procedures/Management. (Classroom courses listed below)

@ Associate of Arts Degree in Police Administration, St. Petersburg Florida Junior College, 1965.

Associate in Arts Degree with General Education Certificatlon added, 1966. (Classroom
courses listed below)

ACADEMIC TEACHING EXPERIENCE

® Chairman/Instructer, Criminal Justice Program, Tallahassee Community Collage (Administered both
Law Enforcement and Corrections Programs with approximately three hundred students and staff of
both part-time and full-time Instructors.) 1967-1977

Developed, Implemented, Supervised and Taught In:

Academic Programs Police Training Center Programs
e AA Degree in Law Enforcement e Certlficate in Police Supervision
e AA Degree In Corrections e Certificate In Pollce Mid-Management

e Certificate in Executive Development

@ Adjunct Lecturer, Graduate and Undergraduate Criminal Justice Courses, School of Social Work,
Florida State University, 1972 - 1973.

@ Adjunct Professor, Schoo! of Criminology, Florida State Universlty, 1975-1980. (Correctlons and Law
Enforcement Courses).
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ACADEMIC COURSEWORK TAKEN

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(St. Petersburg Junior College and Florida State University).

LAW ENFORCEMENT COURSES

Police Organization and Administration
Introduction to Law Enforcement
Criminal Interrogation

Police Patrol Procedures

Criminal Investigation

Development of Law Enforcement and
Corrections

Police Defensive Tactics

CORRECTIONS COURSES

Legal and Court Procedures

Treating Juvenile Delinquency
Criminology and Corrections

Soclal Control

Programs In Crime and Delinquency
Probation, Pardon and Parole
Correctional Custody

Seminar in Corrections

Corrections [Internship

Juvenile Court Philosophy and Procedures

SOCIAL/PSYCHOLOGICAL COURSES

General Psychology

Marriage and Family Relations
Introduction to Sociology
Adolescent Development
Understanding Human Behavior |
Understanding Human Behavior Il

Police Fleld Procedures
Criminal Law

Criminalistics

Pollce Problems and Practices
International Crime Control
Theory of Law Enforcement
Public and Private Security
Theorles of Criminology

Development of Corrections and Law
Enforcement

International Criminology

Special Problems in Criminology and
Corrections

Survey of the Corrections Field

Theory and Concepts In Criminology and
Correctlons

Seminar In Social Action

Nature, Man and God

Social Research

Sociology and Education
introduction to Social Group Work
Essentials of Interviewing

Methods of Social Research

MANAGEMENT COURSES: Post Masters Studies, Public Administration (Nova University)

ideas and Images: The American Political
Process

Interests and Instruments of Power: Policy-
Making In America

The Administrator in a Pluralistic Setilng:
Management Leadership

Protective Functions: Problems and |ssues

in Malntaining a Just and Peaceful Domestic

Soclal Order

Environmental and Economic Functlons:
Problems and Issues In Employment,
Energy, and Ecology

Social and Human Service Functions:
Problems and Issues of Educailon, Health,
Housing, Welfare, and Civil Rights
Management Information Systems:
Quantitative Designs

Staffing and Personnel Management

Measurement of Program Outputs: Techniques
for Analyzing Daia

Measurement of Program Consequences:
Problems of Collecting Data

Organization and Management Principles
Group Dynamics and Interpersonal Relations
Administrative Responsibility and Ethics: The
Nature of Conflicting Demands

e Authority, Power, and Administrative Law

Funding and Finance Administration: Sources
of Revenue

Governing and Decision Making Processes
Problem and Conflict Resolution

Dynamlcs of the System of Pluralism: The
Administrator and the Various Sub-Systems
Research program Formulation
Developmental Program Formulation
Research and Development Evaluation
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ACADEMIC COURSES TAUGHT by w. Ken Katsaris

Tallahassee Community College and Florida State University (1967-1988)
Introduction to Law Enforcement e Seminar: Private Securlty

®
e Criminology e Seminar: Jail Policy and Procedure
e Criminal investigation e Seminar: Jail and Prison Standards and
e Criminal Investigatlon Laboratory Accreditation
e Criminallstics e Seminar: Investigation of the Police Use of
e Introductory Criminallstics Laboratory Force
s Advanced Criminalistics Laboratory e Juvenile Delinquency and Youth Programs
e Criminal Law e Seminar: Correctlons Law and Llability
« Criminal Procedures e Seminar: Blood Splatter Evidence
« Police Organization and Management » Seminar: Firearms Evidence and Ballistics
e Police Community Relations & Crime e Jail/Prison Design: Inmate/Staff Issues
Prevention
CERTIFICATIONS

einstructor Certified, CMS General Instructor, Specialized Teaching Techniques for Scenario Based
Instruction to Police and Corrections Officers. Pat Thomas Criminal Justice Academy, Tallahassee,
FL, August 2002.

elnstructor Certifled, Lateral Vascular Neck Restraint System (LVNR) National Law Enforcement Training
Center, Kansas City, MO (Jim Lindell, President) 2000.

einstructor Certitled, Taser Electronic Immobilization Weapon, Tasertron, 1999, Policy, Procedure, After
Care.

elnstructor Certified, Human Diversity Instructor, Florida Criminal Justice Standards and Training
Commission, August, 1995. Sexual Harassment, Hostlle Work Environment, Race and Gender Issues,

Preparation to Instruct Corrections and Law Enforcement Personnel.

eInstructor Re-Certification, Emergency and Pursuit Driving, 24 Hours. Pat Thomas Criminal Justice
Training Academy, November 2000.

elnstructor, Certified, Firearms Instructor, Florida Criminal Justice Standards and Training Commission,
1992.

elnstructor Certified, Pursuit Driving, (Emergency Vehicle Operation), Techniques and Policy, Florida
Criminal Justice Standards and Training Commission, 1987.

elnstructor Certified, Psycho-Motor Skill Design Instructor (Defensive Tactics and Physical Training
Techniques), 1991. International Association of Police Trainers.

elnstructor Certified, Orcutt Police Nunchaku Instructor Certification to Instruct in Use of Police
Nunchaku's, (Instructed by Kevin Orcutt) 1991.

elnstructor Certified Law Enforcement and Medical Restraint System, RIPP Restraints, Course for
Instructing the Methods of Restraining Prisoners and Emotionally Disturbed Persons, 1991.

elnstructor Certified, Advanced Hostage/Barrleaded Sublect Negotiations, 1992. Institute of Police
Technology Management. 40 Hour course of study with additlonal supervised practical exercises.

elnstructor Certlfled, Legal Certification to teach Legal Problems, Practices, Applications of Law and Clvil
Liability issues. Florida Criminal Justice Standards and Training Commission, 1991.

elnstructor Certified, Law Enforcement Executive Trainer, Florida Commission on Police Standards and
TrainIng, 1976.

elnstructor Certifled Executive Development Trainer, Florida Potlce Standards and Tralning Commission.
Cartifled to Teach Management Level Courses to Police Chiefs, Sheriffs and Command Officers.
1972.

elnstructor Certified, Criminal Justice Tralner, General Certificate, Florida Criminal Justice Standards and
Training Commission. (Expires July, 2003), Certified to Teach all Police and Corrections Courses at

the Academy Level. Since 1968 with re-certificatlons as required.

elnstructor Certified, Technical Intelligence Operations: Workshop on methods of Wiretaps, Budding,
and Other Communications Intercept as well as Countertactics. Jarvis Internatlonal Intelligence, 1989.

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CERTIFICATIONS (continued)

elnstructor Certified, Police Internal Affairs: Instltute of Police Technology and Management. 40 Hours,
September, 1996.

«Certified, Human Diversity, Basic Certification, Florida Criminal Justice Standards and Training
Commission, 1995.

Certified First Responder, Basic EMT Wound, Injury and Illness Assessment, Pat Thomas Regional
Polica Academy, 1992.

eCertified, Chemical Restraint, OC, Florida Highway Patrol Academy, 1994.

»Certified, Handgun and Long-qun Weapon Retention Techniques, National Law Enforcement Tralning
Center (NLETC). Dave Gross, instructor, 1991.

eCertifled, Application of Physical Empty Hand Control Technique for Retention of Sldearm or Long-gun
in Holstered or Drawn Disarming Sttuatlons, National Law Enforcement Training Center, (NLETC},
Dave Gross, Instructor, 1991.

«Certified, PR 24 Defensive Police Baton, 1987, Florida Highway Patrol.

«Certified, The Monadnock Straight Baton, 1991.
»Certified, Counter Assault Systems Expandable Baton, 1990.
*Certified, Practical Hostage/Barricaded Subject Negotlations, 1992. Institute of Police Technology

Management. 40 Hour course of Study Including practical exercises.
eCertifled, Jail and Prison Management, Department of Correctlons, State of Florida, 1977. Certification
through National Institute of Corrections.
eCertified, Techniques of Applications of Cap Stun Chemical Agent for Police and Correctlons Use.
eCertifled, Peace Officer Tralning, Department of Education, State of Florida, 1967-1968. (#CO38930).
eCertified, Junior College Teaching, Department of Education, State of Florida, 1971-1981. (#042851).
eCertifled, Advanced Homicide Investigation, American Society of Clinical Pathologists. 40-hour
Certification Course. Determinatlon of Method and Instrumentality of Death, Firearms Evidence,
Trajectory and Wounds, 1978.

»Certifled, Injury and Death Determination, Advanced Homicide investigations Techniques Certificate,
American Associatlon of Forensic Pathologists, 1979.

eCertifled, The Management of Police Use of Force, 1984. International Association of Chiefs of Police.
A forty hour certification course on all phases of Police Use of Force and Deadly Force.

eCertified, Security of Convenience Stores, Inspector. Attorney General, State of Florida, Florida Crime
Prevention Institute, February, 1994.

eCertitied Commercial Security, Florida Crime Prevention Training Institute, Attorney General's Office.
40-Hour Certification Course for Security of Apartments, Businesses, Shopping Centers, Parking
Lots,Hotels and Motels. July, 1994.

eCertified, Reallstic Assaliant Control, (Defensive Tactics and Subject Control. Calibre Press. Homestead
Alr Force Base, U.S. Customs, 1989. Intensive 3-day "Hands On" Instruction Teaching Active Counter
Measures and Control Techniques for Prisoner Apprehension, Movement and Control, Pressure Point
Control Tactics.

Certified Pollce Officer, Florida Police Standards and Tralning Commission, 1975. Recertification to
continue as Commissioned Police Officer.

eRecertifled as Police Officer, State of Florida, Commission on Criminal Justice Standards and Training.
May, 1993. Certificate # 137855.

eCertifled, CPR (Cardiopulmonary Resuscitation). Florida Highway Patrol. Recertified 1993.

eCertifled, Law Enforcement Procedures and Management, Florida State University School of

Criminology, 1967.

»Certified, Examiner Psychological Stress Evaluation (PSE}, 1974. Application of the Use of the Voice in
Determining Truth or Deception.

Certifled, Audio Survelllance and Counter Measures, Ross Engineering, 1988.

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TRAINING COURSES TAKEN

sMobile Crime Unit Deployment, equipment operation, malntenance and use for major crime scene
processing, evidence collection and testing, St. Petersburg Pollce Department, 1962.

eCrime Scene Processing, St. Petersburg Police Department Staff School, 1962. Fingerprints, tire and
foot impressions, blood analysis.

»Fingerprint Processing and Classification, St. Petersburg Police Department Staff School, 1962. Latent
Fingerprint Development and Comparison Techniques.

»Crime Scene and Laboratory Photography Techniques, St. Petersburg Police Department Staff School,
1962.

eFlrearms Evidence:collection, processing and analyzing at scene ballistics and trajectory evidence.
Neutron activation analysis preparation and testing for handgun and long gun firing evidence. St.
Petersburg Police Department, 1963.

Blood and Body Fluid Collection, Identification and Preservation, Blood Splatter Evidence Interpretation;
St. Petersburg Police Department Staff School, 1963.

«Police Recruit Academy, St. Petersburg Police Recruit School #12. Consisted of 360 hours of basic
instruction in all phases of police work, 1964.

ePolice Firearms Instruction, National Rifle Association, May, 1964.

eCrowd and Riot Control School, St. Petersburg Police Department. Riots, Building Entry, Hostage
Negotiations and Swat Tactics, 1965.

eTraffic Accident Investigation, St. Petersburg Pollca Department, 1965. Skid mark determination, point
of Impact, reconstruction.

eTeaching Criminology Intemship, Florida State University, Tallahassee, Florida, 1971.

ePolice Instructor Seminar, Police Standards and Training Commission, 1971. Certification to Teach
Police, Jail and Prison Instructors.

Police Officer Certification, State of Florida, 1975. Lewis Lively Pollce Academy, Tallahassee, FL. 80-
Hour Training Program for comparative compliance covering pursuit and emergency vehicle
response, first responder, firearms, use of force, use of deadly force, baton and handcuffing, arrest
procedures.

«Sheriffs Management Seminar, Florida Sheriffs Association, 1977. An Intense study on all phases of law
enforcement and Jail policy and procedure.

«Police Administration In Florida: The Future, Florida Police Standards and Tralning Commission, 1977.
An evaluation of the future directions for police management, setting of standards and law
enforcement accreditation.

»Managing Criminal Investigations, Internatlonal Association of Chiefs of Police, 1978.

e|mplementation of Jall Standards, Natlonal Institute of Corrections Jail Center, Marion County, Florida,

1980.
eThe Police Executive Institute, sponsored by the Police Foundation and the Law Enforcement

Assistance Administration, Dallas, TX, September, 1980.

eThe Executive and Pollce Operations, Police Executive Institute, 1980. (Use of Force, Less than Lethal
Methods, Crime Prevention) San Diego, CA.

«Management Stress Training, Miami, Florida. Experience Compression Laboratory, Jerome Barnum
and Associates, 1981.

ePower and Morality Seminar, Florida State University Humanities Institute, 1981. An evaluation of the
use of power by legislative and executive bodies.

eHealth Care and the Sulcidal Inmate, Prison Health Services, 1984, An intense study of the problems of
the delivery of health care to inmates In county Jails and prisons as well as a review of the problem of
sulcide. Emphasis on suicide prevention by Identification of the potential sulcldal inmate.

eJall and Prisoner Legal Issues, Americans for Effective Law Enforcement, 1986. A review of all of the
areas of civil liability in the Jail and Prison setting. Discipline, injuries, deaths, employment.

elssues in_Jall Management -- Major issues facing managers of small and large jails. 1997, Clearwater,
Florida, American Jail Association.

eWomen's Issues in Corrections. Issues relating to both men and women working In corrections. 1987,
Clearwater, Florida, American Jail Association.

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TRAINING COURSES TAKEN (continued)

eSulcide Prevention: How to Identify The Potential Suicidal Inmate. 1987, Clearwater, Florida, American
Jail Association.

eEmercency Response Teams (SWAT) Recruitment, Training and Deployment. 1987, Clearwater, Florida,
American Jail Association.

eDiminished Police Liability Through Implementation of Ethles, Florida Pollee Chiefs Assoclation
Conference, 1987.

Training Programs for Line Officers: Implementing Local Tralning Opportunitles, American Correctional

Association, 1987.
eYour Local Jail: Innovative Concepts for Handling Unique Problems, American Correctlonal Association,
1987.

«Using Standards and Accreditation to Your Advantage, American Correctional Association, 1987.

eSecurity: Developing A Safe, Humane Institution, American Correctional Association, 1987.

Street Survival for Police Officers, Calibre Press, Newport R.|. 1989. Intense 3-day seminar on Use of
Force, Deadly Force, Pursuits, Satanic Cults, Pollce Liability and Trial Tactics, Defensive Tactics and
Arrest Procedures.

eRealistle Assailant Control, Calibre Press. Homestead Air Force Base, U.S. Customs, 1989. Intensive 3-
day "Hands On" Instruction Teaching Active Counter Measures and Control Techniques for Prisoner
Apprehension, Movement and Contrat.

eEdged Weapons Attacks, Video self-study presentation titled "Surviving Edged Weapons," Calibre Press,
85-minute detailed analysis and tactlcal tralning for Police Officers Defense when any type of edged
weapon is confronted, 1989.

eTransporting, Searching and Restraining Prisoners, U.S. Marshals Office, Tralning provided at U.S.
Forestry Seminar, Spokane, Washington, March, 1997.

» Surviving One Person Patrol, U.S. Forest Service, Spokane, Washington, 1991.

ePursuit Driving and Liability Concerns, International Association of Chiefs of Police, Minneapolis, MN,
1991,

eLaw Enforcement Juvenile Issues, International Association of Chlefs of Police, Minneapolis, MN, 1991.

«Causes and Prevention of Excessive Use of Force, International Association of Chiefs of Police,
Minneapolis, MN, 1991.

eThe Americans With Disabilltles Act and the Falr Labor Standards Act. International Association of
Chiefs of Police, Minneapolis, MN, 1991.

eJall and Prisoner Legal Issues, AELE (Americans for Effective Law Enforcement), 24-Hour course of
Instruction covering Classification, Use of Force, Sulcide Intervention/Prevention, Medical Care,
Prisoner Rights; Course for Attorneys and Jail and Prison Commanders from throughout the USA.
New Orleans, LA, 1992.

Discipline and Labor Problems, AELE (Americans for Effective Law Enforcement), 24-Hour Course of
Instruction covering Labor and Union Relations; Personnel Records; Hiring Practices including
complete selection procedures; Discipline Practices; Americans with Disability Act Procedures; Sexual
Harassment; Employment Discrimination; Drug and Substance Abuse, Orlando, March, 1992.

«Pollce Civil Liability, AELE (Americans for Effective Law Enforcement) 24-Hour course of Instruction
covering Issues of Use of Force, High Risk Procedures (Pursuit, Emergency Response, Firearms, Use
of Deadly Force), Preparation and Defense of USC 42, 1983, Llability Clalms. Las Vegas, September,
1992.

*Police Use of Excessive Force: A National Perspective. International Association of Chiefs of Police,
Detroit, MI, October, 1992.

eUnauthorized Force: Who's Watching. Internatlonal Association of Chiefs of Police, Detroit, Ml,
October, 1992.

eLegal Aspects of Use of Force Training. International Association of Chiefs of Police, Detroit, Ml,
Cctober, 1992.

eBloodborne Pathogens: (Hepatitis B) Epidemlology, Symptoms, Transmission, Prevention, Protective
Equipment, Overall Policy. Florida Highway Patrol Academy, 1993.

ePolice Auto Pursult: Liabllity, Policy, Procedures. Internatlonal Association of Chiefs of Police, St. Louls,

Missouri, October 1993.

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TRAINING COURSES TAKEN (continued)

eUse of Force Continuum: Applications for Tralning Use of Force. International Association of Chiefs of
Pollce, St. Louis, Missouri, October, 1993.

*Convenlence Store Security. Attorney General, State of Florida, Florida Crime Prevention Institute,
February, 1994. Certification Course for Security of Convenlence Stores.

«Constitutional Law Issues, Recent Supreme Court Decisions and Signiflcant Federal Cases.
Internatlonal Association of Chlefs of Police, St. Louls, Missourl, October, 1993.

» Defense and Management of Critical Liability Issues In Law Enforcement Agencies. AELE, San
Francisco CA, May, 1992. 3-Day Seminar covering 1983 Litigation and Defenses, Use of Force,
Expert Witnesses, Failure to Protect, Risk Management, Investigation of Use of Force Claims, High
Speed Pursult Policy and Procedure, Officer Disciptine, Internal Affairs.

»Reducing Excessive Force. International Association of Chiefs of Police, St. Louis, Missourl, October,
1993.

eHealth Issues for the Police Officer. AIDS, Hepatitis, Blood Borne Pathogens. Policles, procedures,
tactics, contamination, handling of evidence and persons. Florida Highway Patrol Academy, 1993.

«Investigation and Prosecution of Environmental Crimes for Industry and Law Enforcement. The
American Soclety for Industrial Securlty, November, 1994, Crystal River, Florida.

eJail and Prisoner Leqal Issues Seminar, AELE (Americans for Effective Law Enforcement) 3-Day
Seminar covering Inmate Disclpline, Inmate Privacy, Suicides, Medical Care,
Psychlatric/Psychological Services, Inmate Rights, Use of Force, Duty to Protect, Classification and
Housing, Accreditation and Natlonal Standards, Las Vegas, NV, January, 1994.

eCommercial Security, Florida Crime Prevention Tralning Institute, Attorney General’s Office. 40-Hour
Certification Course for Security of Apartments, Businesses, Shopping Centers, Parking Lots, Hotels
and Motels. July, 1994.

eHuman Diversity Retratning for All Certified Police Officers. Lively Criminal Justice Academy, April,
1995, Legal and practices update on sexual harassment and hostile work environment issues and
minority relatlons.

Police Discipline and Labor Problems Seminar, AELE, Las Vegas, NV, 24-Hour Course of Instruction
covering Labor and Union Relations; Personne! Records; Hirlng Practices including complete
selection procedures; Discipline Practices; Americans with Disability Act Procedures; Sexual
Harassment; Employment Discrimination; Drug and Substance Abuse, November, 1995.

eMental Aikido, (verbal Judo}. Pat Thomas Reglonal Police Academy, 8 Hours, 1996.

«Domestic Incidents: Responding when an officer |s involved. International Association of Chiefs of
Police, Orlando, 1997.

eLess Lethal Projectiles and De-Escalation, International Association of Chiefs of Police, Odando, 1997.

eLaw Enforcement Preparatlons and Operations for Malor Special Events, International Association of
Chlefs of Police, Orlando, 1997.

»Domestic Violence Response: The Response to and Handling of Domestic Violence Incidents by Law
Enforcement Officers, Pat Thomas Regional Police Academy, 1997.

eUse of Force Principles, American Society of Law Enforcement Trainers, using tactics of vanishing,
adapting, tracing to improve abllity to survive a deadly assault, Mobile, AL, January, 1998.

Electronic {mmobilization Devices, American Soclety of Law Enforcement Trainers, Analysis of the
proper use of EID's compared to other common defensive weapons, Taser, Stun Gun, Stun belts,
January, 1998.

eChanging The Police Pursult Paradigm, American Society of Law Enforcement Trainers, Revision of
Pursuit Training Patterns with emphasis on pursuit initiation guidelines via a proactive decision-making
process, Mobile, AL, January, 1998.

eManagement of Mentally II Persons in Corrections, American Society of Law Enforcement Trainers,
identifying and coping with mentally ill Inmates by providing a safe environment, January, 1998.

eSudden Deaths in Police Custody, American Society of Law Enforcement Trainers, Examining critical
concerns of restralnt related Issues of sudden death and risk management strategles, Mobile, AL,

January, 1998.

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TRAINING COURSES TAKEN (continued)

Positional Asphyxla, American Soclety of Law Enforcement Trainers, Practical criterla and procedures to
minimize injury to arrestees. Clarificatlon of misconceptions, and latest research surrounding lung
function, arterial blood oxygen levels and restraint positloning, Mobile, AL, January, 1998.

Swat Liability, Amerlean Society of Law Enforcement Tralners, Tactical Team deployment and tralning
policies; high risk warrant service and report writing after an Incident, Mobile, AL, January, 1998.

eExperlencing and Investigating Police Shootings, American Society of Law Enforcement Trainers,
Recognizing perceptual and cognitive distortions and understanding these distortions and their impact
on officers and witnesses memories, Moblle, AL, January, 1998.

eHealing Fractures, Florida State University, School of Criminology. Two-day seminar focusing on Police
Race Related Misconduct Issues and the subsequent Internal Investigation Requirements. Racial
Profiling issues, Police Stops and Searches. October, 1998.

eTraining Injuries: Strategies for Reduction and updates on contemporary cases. American Society of
Law Enforcement Trainers, Albuquerque, NM, January, 1999.

eForce and Control Risk Management. Applying Fundamentals of Risk Control to the Relationship
Between Officer Safety and Liability as It Relates to the Management of Force. American Soclety of
Law Enforcement Trainers, Albuquerque, NM, 1999.

eThe Lateral Vascular Neck Restralnt (LVNR). Hands on instruction for famillarization, training methods,
applications, use of force, options. American Soclety of Law Enforcement Trainers, Albuquerque, NM,
1999.

eIntegrated Force Management. Awareness of the value of an Integrated approach toward force
management. American Society of Law Enforcement Trainers, Albuquerque, NM, 1999.

eRace In Law Enforcement -- Trafflc Stops and Beyond. International Association of Chlefs of Police,
Charlotte, NG, 1999.

eSchool Safety: Innovative Strategies from Lessons Learned. International Association of Chiefs of
Police, Charlotte, NC, 1899.

eSchool Violence Prevention: A Psychological and Law Enforcement Perspective. International
Association of Chiefs of Pollce, Charlotte, NC, 1999.

eProfessional Tratfic Stops. Race and the Police Response During Traffic Stops and/or Vehicle
Searches. International Association of Chiefs of Pollce, Charlotte, NC, 1999.

Preventing School Violence. Dissecting the Columbine High School Shootings and Applying the
Lessons Learned. Quinlan Publishers, Atlanta, GA, 1999.

eTraining The Most Challenged Shooters. The Difference Between Male and Female Shooters. American
Soclety of Law Enforcement Trainers Richmond, VA, 2000.

eHandcutting: Make Your Handcuffing Technique Work. Hands on application of handcuffs considering
varlous techniques and issues. American Society of Law Enforcement Trainers. Richmond, VA 2000.

establishing a Protocol for Malor Use of Force Investigations. American Society of Law Enforcement
Tralners, Richmond, VA, 2000.

eManaaing High Risk Law Enforcement Activity. American Society of Law Enforcement Trainers,
Richmond, VA, 2000.

einstinctlvely Predicting Assaultive Behavior, Physical and Verbal Cues. American Society of Law
Enforcement Trainers, Richmond, VA 2000.

eAnalyzing Patterns of Subject Resistance During Arrest. Analysis of subject, officer, and arrest factors

with types of resistance encountered. American Soclety of Law Enforcement Trainers, Richmond, VA,
2000.

®0.C. Spray and "Positional Asphyxia:" Separating Fact from Fiction. By Dr. Ted. Chan. International
Association of Chiefs of Pollce, San Diego, CA, 2000.

eDilemma of Domestic Violence by Pollce Officers. Recognition, Intervention, Prevention. International
Association of Chiefs of Police, San Diego, CA, 2000.

eNon Violent Crisis Intervention. Management of Disruptive, Assaultive, and Out of Control Behavior.
Hospital and School Settings. Crisis Prevention Institute, New Orleans, LA, October, 2001.

eThe Juvenile Sexual Offender. Recognition, Intervention, Prevention. Requirement for Certified
Police/Corrections Officers. Daytona Beach Community College, Daytona Beach, FL, May, 2001.

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TRAINING COURSES TAKEN (continued)

eHuman Cultural Diversity. Avoiding Sexual Harassment/Hostlle Work Environment Issues Considering
Gender and Race. Requirement of Certifled Police/Corrections Officers. Daytona Beach Community

College, Daytona Beach, FL, May, 2001.

eDomestic Violence. Prevention, intervention, Referral, Restraint Orders. Requirement of Certifled
Police/Correctlons Officers, Daytona Beach Community College, Daytona Beach, FL, May, 2001.

«Safe and Legal Traffic Stops. Procedures to avoid complaints of race bigs claims. Proper and safe
methods of approaching and talking to stopped pedestrians, drivers of vehicles, and passengers.
Identification, stop analysis, and statistical comparisons. Institute of Police Technology and
Management, University of North Florida, Jacksonville, FL, May, 2001.

eBiased Based Policing. Investigation of Complaints of Racial Discrimination. International Association
of Chiefs of Police, Toronto, Canada, October, 2001.

»Developing and Implementing Training Programs for Responding to the Mentally fll. Police
Psychological Services, International Association of Chiefs of Police, Toronto, Canada, October, 2001.

eReducing Police Use of Deadly Force through Proactive Management and Strategic Planning.
Internatlonal Association of Chiefs of Police, Toronto, Canada, October, 2001.

«Deadly Force Encounters: A Study of the Blological/Psychological Issues Affecting The Body and Mind
During High Stress Encounters, Dr. Alexis Artwohl, Anchorage, AK, January, 2002.

eCritical Incident Stress: Recognitlon and Remediation. Anchorage, AK, January, 2002.

sKinetic Eneray Projectiles, Death, and Serious Injury. Targetlng strategies, pre-Incident planning, proper
selection of ammunition and weapons. Matt Bloodgood, Anchorage Police Department Officer,
Anchorage, AK, January, 2002.

eCritical Incident Response for Patrol Officers, Armed Hostage Takings, Ramdom Shootings, Actions of
Responding Officers: Principles, guidelines, tactical situations, Sgt, Anthony C. Henry, Anchorage
Police Department, Anchorage, AK, January, 2002.

eThe Trainers Role in Lethal and Major Force Investigations, Michael P. Stone, General Counse! and

Muna Busailah, Assistant General Counsel, Riverside California Sheriff's Association, Anchorage, AK,
2002.

»Fitness for Duty Evaluations: Medical and Psychological Practices and Pre-Employment Issues,
International Association of Chiefs of Pollce, Minneapolis, MN, 2002.

ePre-Employment Psycholgical Screening: International Association of Chiefs of Police, Minneapolis,
MN, 2002.

eSuicide Prevention: Los Angeles County Sheriff's Department Program, International Associatlan of
Chlefs of Police, Minneapolis, MN, 2002.

Preventing Violence Agalnst Women: A Showcase of Campus Initiatives, International Association of
Chiefs of Poltce, Minneapolis, MN, 2002.

eTargeted School Violence, International Association of Chlefs of Police, Minneapolis, MN, 2002.

«Workplace Violence: Coping In the Aftermath of Identifying Potential Intervention Strategies, Dr. Alexis
Artwohl, International Association of Chiefs of Police, Minneapolis, MN, 2002.

eLess Lethal Force Options, Major Steve ljames, International Association of Chlefs of Pollce,
Minneapolis, MN, 2002.

Organized Retail Crime, Target Corporation, International Association of Chiefs of Police, Minneapolis,
MN, 2002.

Physical and Psychological Aspects of Police Shootings, International Association of Chiefs of Police,
Minneapolis, MN, 2002.

eTerrorlsm and Drug Trafficking: A National Security Issue, International Association of Chiefs of Police,
Minneapolis, MN, 2002.

«Blueprint to Combating Terrorism, International Assoclation of Chiefs of Pollce, Minneapolis, MN, 2002.

The Use of Less Lethal Force: Legal Issues and Liability, American Soclety of Law Enforcement
Tralners, Ontarlo, CF 2002.

ePositlonal Asphyxia and Sudden Custody Deaths, Dr. Ted Chan, American Soclety of Law Enforcement
Trainers, Ontarlo, CF 2002.

Subject Movement in Shooting Situations, Dr. William J. Lewinskl, American Society of Law
Enforcement Trainers, Ontario, CF 2002.

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TRAINING PROGRAMS TAUGHT: NATIONWIDE

(in addition to the Police and Corrections Academy Instruction listed earlier)

Florida State University, 1967. Instructor, Delinquency Control Institute. Instructlon to officers from
throughout U.S. assigned the Investlgation and counseling of troubled youth.

University of Georgia, 1969-1978. Institute of Government, Police Science Division: Homicide, Burglary and
Crime Scene Instruction to Police Specialists and Executives from throughout the United States.

»Florida Police Standards Commission, 1971-1976. Executive Development Instructor for Police Managers
throughout Florida as part of the Executive Development Program.

eFlorida Police Standards Commission, 1972-1976. Selected as one of four persons in the State to
coordinate and supervise the offering of Management Training for Police Executives in an on-going
Executive Development Program.

University of Georgia, 1972-1976, Institute of Government, Police Science Division: Personnel and
Evaluation Instructor for Police Personnel Specialist throughout U.S.A.

»Miaml Police Department, 1974. Management Training for all Command Personnel (Sergeant through
Assistant Chlef level). Completed over a three-month period.

«Biscayne College, Miaml, Florida, 1974. Management Training for Police Executives from throughout the
United States.

eFlorida Institute for Law Enforcement, St. Petersburg, Florida, 1974. Advanced Homicide Investigation

Techniques. Police Management Training for Police Executives from throughout the United States.
eSupreme Coun, State of Florida, 1978. Developed and directed a movle production to illustrate the process

of Justice from arrest to trial.
Florida State University, School of Criminology, Southern Conference on Correctians, 1967-1987.

Participant, lecturer and seminar leader for varied discussions and analysis of the Criminal Justice
System, 1967-1990.

eFlorida Highway Patrol, 1971-1981. Instructor for all phases of criminal investigation, crime scene
processing, homicide and law for all recrult classes, selected executive and in-service seminars.

eGeorgia Police Chiefs Association, 1979. Role of the Police Chief in Policy Formulation for Major Crime
Squads.

eFlorida Highway Patrol, 1981-1982. Correctional Philosophy Instructor, Recruit Training.

eUniversity of South Florida, Department of Criminal Justice, 1979-1980. Instructor, Injury and Death
Investigation Course for national participants who are speclallsts in the area of homicide investigations.

State Attorney's Office, Palm Beach County, Florida, 1981. “Sex Crimes Investigations," workshop on sex,

crime and children.

Cairo Polica Department, Cairo, Georgla, 1986. High Speed Pursuit Policy and Emergency Vehicle
Operations. Legal Aspects of Police Use of Deadly Force. Excessive Force in Arrest Situations.

ePollce Liability: Firearms, Vehicles and Equipment, Florida Highway Patrol Auxillary Annual Tralning

Seminar, Longboat Key, Florida, 1986.
eCollier County (Naples, Florida) Sheriffs Department (Southwest Florida Law Enforcement Training

Academy) Police Organization: The Major Crime Task Force

sPursuit Driving Policy and Procedure, Florida Highway Patrol Auxillary, Tallahassee, 1988.

«Hillsborough County Sheriffs Department, (Tampa, FL). Hostage Negotiations and Procedures for Dealing
with Barricaded Subjects, 1988.

eVolusla County Sheriffs Department, Provide training to 15 City Agencies and Volusla Sheriffs Offlce on
Pursuit Policy and Procedure, 1989.

eFlorida A&M University, Campus Police Procedures and Leqal Liabllity. May, 1995. Program taught to all

members of Campus Police Force.
eNew Hampshire Municipal Association, Death and Injuries from Use of Force. Concord, NH. November,

1994. Elght hour course for all New Hampshire Police Chlefs, Commanders, Directors of Training,
Agency Attorneys and Internal Affairs Investigators. Instruction included methods of restralnt, use of
handcuffs, flashlights, batons, electronic and chemical restraints and tactics for subject control.
eVirginla State Police: “Pursuit and Emergency Driving Procedures and Policies.” Presentatlon to the State
and Provincial Pollce Academy Directors representing each State Police Academy in the U.S.A.

Williamsburg, VA, June 1995.

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TRAINING PROGRAMS TAUGHT: NATIONWIDE (continued)

«Honolulu Pollce Department, Supervisory Tralning, Honolulu, Hawali, 1997. Training on Use of Force,
Pursuits and Emergency Response for over 400 Supervisors inctuding the Administrative Review Board,

Command Staff and Chief of Police.
eGeorala Association of Chlefs of Police. "Developing Community Relationships through Proper Policy and
Procedure." Use of Force, Less Lethal Munitions and Weapons, Pollce Pursuits. Savannah, GA, July,

1998.

CONSULTANCY, COMMITTEE AND TASK FORCE INVOLVEMENT

»Florida Police Standards Commission, 1971. Formulation of Executive Development Programs for Police
Executives.
eHarper and Row Publishers, 1971. "Police: The Human Dimension”. A film serles for training police officers
throughout the United States.
“Police and the Community”
"Police Use of Authority”
"Police Ethics"
"Police and Minoritles"
“Police Stress"
eFlorida Police Standards Commission, 1972. Development of 280-hour police tralning program for all police
officers in Florida. Member of Committee.
Florida Board of Recents, 1972-1974. Social Work Education Project, Curriculum Advisory Committee.
eFlorida Board of Regents, 1972-1974. Juvenile Delinquency Project Advisory Committee.
eJohn Wiley Publishers, 1973. Development of Criminal Justice Texts for Colleges and Universities.
*Florida Pollce Standards Commission, 1974. Development of 320-hour pollce training program for all police
officers In Florida. Member of Committee.

eOcala Pollce Department, Ocala, Florida, 1974. Training needs assessment.

eTallahassee Police Department, Tallahassee, Florida, Patrol Procedures/Deployment.

eTallahassee Police Department, Tallahassee, Florida, 1974-1976. Retained to construct, adminlster and
grade promotional examinations for all ranks; also to chalr Oral Board Examinations and coordinate the
grading for all Oral Board Examinees.

eFlorida Department of Education, 1974-1976. Criminal Justice Common Course Numbering Task Force.

eJuvenile Justice and Delinquency Task Force, 1978-1983. Appolnted by Governors Askew and Graham
to Task Force to consider Innovative approaches for working with troubled and criminal youth.

eNorthwest Florida Criminal Justice Advisory Council, 1977-1981. Appointed by Governor Askew to
membershlp on Council. Reappointed to Council by Governor Graham in 1979.

eFlorida Corrections Standards Council, 1977-1981. Appolnted by Governor Askew as Commissioner.
Reappolnted by Governor Graham.

State of Florida, Human Rights Advocacy Committee for Mental Retardation, 1978-1982.

Pinellas County Sheriff's Department, 1981. Chairman, Oral Board Examinations for the positions of
Correctional Sergeant and Lieutenant, Pinellas County Jail, Clearwater, Florida.

eFlorida Criminal Justice Standards and Training Commission, 1981-1982. Development of 320-hour basic
tralning program for state and local Correctional Officers. Member of Committee.

»Governor's Office, State of Florida, Florida 2000: Creative Crime Control -- 1982. Governor's Appointment
to Governor's Challenge Program.

eApalachee Community Mental Health, Inc., 1983-1986. Properties Board. (Vice President 1985-87).
Community mental health Issues and concerns involving the alcoholic, mental and sexual offender.

eCalro Police Department, Calro, Georgia, 1986. Development of Policy and Procedure Manual and
Management Review.

eColumbus Georgia Pollce Department, 1987. Assessor for promotion to rank of Sergeant, Lleutenant and
Captain.

eFlorida Highway Patrol, Appointed to Statewide Policy Committee to Review and Update all FHP Policies
and Procedures, 1988.

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CONSULTANCY, COMMITTEE AND TASK FORCE INVOLVEMENT (continued)

eVolusia County Sheriffs Department, Retained to Develop and tmplement a County-Wide Pursuit Policy to
be Used by all 15 Police Agencles within the County when Pursuits Cross Jurisdictional Boundaries.

*City of Perry Florida, Review of Management, Policles and Procedures of Perry Police Department for
Recommended Changes, 1989.

»Private Security Advisory Council, Florida Department of State, Review of Firearms Pollcies Throughout U.S.
and Development of Tralning Program and Manual on Firearms Use and Civil Liability for Use of Deadly
Force, 1987-1990.

eFlorida Highway Patrol, review of all pollce involved shootings by State Troopers occurring prior to 1981
for tralning implications. 1985.

«Florida Department of Corrections, Member, Probation and Restltutlon Center Advisory Committee Member,
1991-1996.

Volusia County Sheriffs Office, retained to develop policy for tralning and deployment of Department K-9

units, 1993.
«Florida Highway Patrol, Review and Advise Director and Command Staff on Policy and Use of Chemical

Restraining Spray (OC) in Department Certification Training, 1996.

ePinellas Park Florida Pollce Department, Vehicle Stops and Subject Extraction in High Risk Stops, 1996.

eApalachee Center for Human Services, Security Survey and on-going consultancy on Hospital Security for
Receiving Patients under Florlda’s Emergency Commitment Act, 1996-Present.

eHonolulu Police Department, Honolulu, Hawaii: 1997. Policy Review and Revision on Procedures for
Pursuit and Use of Force, Including Police Batons, Chemical Sprays, and Emergency Response.

eKansas Clty, Missouri Police Department. Evaluation and Analysis of Police Vehicle Accidents, Driver
Tralning, Pursuit Driving Policy and Procedure, Emergency Driving Policy and Procedure, and Non-
emergency Driving Practlces. October 1998 - May 1999.

eLos Angeles County Sheriff's Offlce. Review of Mens Central Jail Facility. Physical facilitles, inmate
relations, staff deployment, medical and recreation access, treatment of the special confinement
prisoners. January 2000 - Present. (Chief County Counsel Kevin Brazile)

PUBLICATIONS, PRESENTATIONS, PAPERS

Crime Scene Investigators Handbook. Gulde developed for St. Petersburg Police Crime Scene Unit, St.
Petersburg, Florida, 1963.

eCorrections Education in the U.S. and Canada. Tallahassee Communlty College Press, 1969.

e'The Dilernma of Jail Suicide." Paper presented to Lambda Alpha Epsilon (LAE) National Law Enforcement
Fraternity, Tallahassee Community College, 1970.

eAn Exploratory Study of Police Recrult Tralning in Florida as Mandated by the Pollce Standards Act of
1967. Unpublished Masters Thesls, Florida State University, 1971.

eColleae Courses and Programs Applicable Toward State Salary Incentive Program. Florida Pollce
Standards and Tralning Commisslon, 1972,

Statewide Mandatory 280-Hour Police Recruit Training Program (Nine participants), 1972.

"Current Trends In Corrections and Law Enforcement Education.” Paper presented at the 1972 Annual
Conference of the North Carolina Department of Community Colleges.

"Deployment of Legal Advisors in Criminal Justice Agencies.” Paper presented at the Florida State
University Law School, 1972.

e’Police Performance Evaluation." Paper presented at Natlonal Police Supervision Workshop, University of
Georgla, Police Sclence Division, November 20, 1974.

eEvidence and Procedure in the Administration of Justice. New York, John Wiley Publishers, 1975.
Textbook used in over 25 states and 100 colleges for teaching Police and Correctional Officers the legal
aspects of evidence.

e’Bank Robbery Prevention and Hostage Procedures." Presentation to Capital City Bank Group,
Tallahassee, Florida, 1977.

e"Bank Robbery Prevention and Hostage Procedures.” Presentation to Flagship Banks, Tallahassee, Florida,

1977.

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PUBLICATIONS, PRESENTATIONS, PAPERS (continued)

e"Security Analysis, Review and Training." Presentation to Tallahassee Mall Merchants Association,
Tallahassee, Florida, 1978. Northwood Mall Merchants Assoclation, Tallahassee, Florida, 1979. Over 50

smail businesses, 1977-1980.
e"Bullding and Perimeter Security.". Evaluation and presentatlon to Anheuser-Busch, Inc., Chenoweth

Distributors, Tallahassee, Florida 1978.
e*Building and Visitor Protection and Security." Presentation to Capitol Security Force, State of Florida,

1978.
"Construction Site Securlty Procedures.” Presentation to Tallahassee Builders Association, Tallahassee,

Florida, 1979.

»"Home Security and Personal Protection," Presentation to Killearn Homeowners Association, Miccosukee
Homeowners Association, Wocdville Men's Club, Lafayette Homeowners Association, Tallahassee, Florida,
1978-1980.

«Policy and Procedures Manual for Deputy Sheriffs, Leon County, Tallahassee, Florida, Sheriffs Department,
Tallahassee, Florida, 1978.

«Policy and Procedures Manual for Correctional Officers, Leon County Sheriffs Department, Tallahassee,
Florida, County Jail, 1978.

eCrime Prevention Brochures, Leon County, Tallahassee, Florida, Sheriffs Department, 1979.

e "Home Security"
e “Operation Identiticatlon”

e "Apartment Security’

es

.

"Vacation Tips"
“Home Fire Safety"
e "Babysitting Safety Tips"
eStatewide Mandatory 320-Hour Tralning Program for Pollce Recruits, one of 10 participants that decided
the content and skills training subjects for recruits, 1981.
e"Mental Health and Local Public Policy," Florida Council for Mental health, Inc., Seminar for Local

Government, 1981.
» Statewide Mandatory 320-Hour Tralning Program for Correctional Officers,one of twelve participants that

decided the content and skills tralning subjects for recruits, 1982.
°"Police and Jalil Practlces and Procedures," The Ohlo Academy of Trial Lawyers, 1985. Presented at

Clncinnat!, Ohio, Columbus, Ohlo, Avon Lake, Ohio.

ePolicy and Procedures Manual, Calro Police Department, Cairo, Georgia, 1986.
e"The Impact of Litigation of Managerlal Reform: The Corrections Case." 31st Annual Southern Conference

on Corrections, 1986. Presentation to National Participants.

e‘The Humane Jail that Meets the Standards." 31st Annual Southern Conference on Corrections, 1986.
Presentation to National Participants.

e'The American Correctlons Association's Policy Initiatives." (Discussant). 32nd Annual Southern
Conference on Corrections, 1987, Presentation to National Participants.

e"Jail Suicide Prevention/Intervention.” Southern Conference on Corrections, 1989, Presentation to National

Participants.
"Development and Use of Expert Witnesses,” presented to the Private Investigators association of Florida,

Orlando, 1991.
*Police Pursuit: Governmental Liability for Pursuits and Pursuit Related Accidents. South Carolina Trial

Lawyers Association, Annual Auto Torts Seminar, Atlanta, GA, December, 1992.
Police Use of Force and Police Pursuit Issues, Procedures, Investigation of Event. Natlonal Association

of Legal Investigators, Atlanta, GA, April 1997.
«Civil Claims of Pollce Use of Force. National Association of Legal Investigators, New Orleans, LA,

September, 1997.
Police Policy and Procedures for Pursult and Use of Force, National Association of Legal invesilgators,

Detroit, Mi, 1997.
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HONORS

eSelected as Criminal Justice Educator of the Year, State of Florida, by the Florida Criminal Justice
Educators Association, 1976.

*Selected as Outstanding Young Man of Florida by Florida Jaycees, 1977.

*Selected as Outstanding Young Man of Tallahassee by Tallahassee Jaycees, 1977.

eRecognized by the President of Tallahassee Community College for ten consecutive years of service and
employment, and Innovations In the teaching of pollce and correctlons courses.

eRecognized as the first Sheriff to instruct Florida Highway Patrol recruits at the Florida Highway Patrol
Academy, 1977.

*Recognized by Temple Baptist Church as Outstanding Law Enforcement Officer of the Year on Law Day,
1977.

eRecognized by U.S. News and World Report, in article “Our Frontier-Style Sheriffs Are Vanishing.” One of
three Sheriffs recognized from the U.S., March 5, 1979.

eRecognized by The New York Times, in Article titled “He's Still In Charge, But The Southern Sheriff is
Changing,” July 6, 1978.

*Recognized as Law Enforcement Administrator of the Year for the State of Florida by the Florida Frontier
Club, 1980.

eRecognized by Governor Graham as Volunteer and for Outstanding Service to Clients and Programs of the
Department of HRS, State of Florida, 1980-1981.

Selected by Florida Counclt on Crime and Delinquency, Tallahassee Chapter, as nominee for Law
Enforcement administrator of the Year Award, State of Florida, 1980.

eAppointed Kentucky Colonel, 1980.

PROFESSIONAL MEMBERSHIPS

eFlorlda Sheriff's Association, Vice Chairman, Legislative Committee, 1977-1981.

elnternational Association of Chiefs of Police, Member, 1968-Present. Education and Training Committee,
1968-1978.

» National Academy of Police Specialists, 1982-1990. Elected Vice President, 1984. Elected President, 1986.

eNational Sheriff's Association (Life Member}.

«Florida Association of Police Chiefs. Member, 1968-Present. Education and Training Committee, 1968-
1980.

eNorth Florida Association of Police Chiefs, 1970-1972.

eFlorida Association of Criminal Justice Educators, 1969-Present. Founder of Association, 1969. President,

4972-19793, 1973-1974. Board of Directors, 1974-1975. recognized as Educator of the Year, 1976.
eLambda Alpha Epsilon, Professional Criminal Justice Fraternity. Faculty Advisor, 1970-1972.
*Southeastern Association of Criminal Justice Educators, 1972-1977.
eFlorida Association of Community Colleges, 1967-1977.
eFlorida Council on Crime and Delinquency, 1971-1982, 1991-present.
elnternational Association of Auto Theft Investigators Membership #302, 1977-1980.
eNational Association for Crime Prevention Practitioners (NCPI), 1978. (Founding Member)
Florida Network of Victim/Witness Services, 1981-1982.

«American Correctional Associatlon, Present.

eNorth American Association of Wardens and Superintendents, Present.
eInternatlonal Association of Correctional Officers, Present.

eAmerican Jall Association, Present.

eAmerican Society for Industrial Security, Present.

«Florida Jail Associatlon, 1992 - Present.

elnternational Narcotic Enforcement Officers Association, Present.

«Legal Offlcers Section, International Association of Chiefs of Pollce, Present.
eCampus Police Sectlon, International Association of Chiefs of Police, Present.
eNational Criminal Justice Assoclation, 1993-Present.

elnternational Narcotic Officers Association, 1993-Present.
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PROFESSIONAL MEMBERSHIPS (continued)

eNational Association of Chiefs of Police, 1992-1995.
American Society of Law Enforcement Trainers, Present.

COMMUNITY INVOLVEMENT

eCapital City Llons Club, 1975.

*Tallahassee Lions Club, 1975-1981.

eBoy Scouts of America, Scouting Coordinator, 1977-1981.

«Tallahassee Jaycees, 1977-1982.

»Capltal City Jaycees, 1976-1981.

eTallahassee Area Chamber of Commerce, 1978-1990.

e Tallahassee Torch Club, 1974-1981.

*Apalachee Community Mental Health Associatlon Services, Inc., Board of Directors, 1976-1980.

Apalachee Center for Human Services, Board of Directors, 1992 - Present. Chairman of the Board, 1997-
1998.

eTiger Bay Club of Tallahassee, 1974-Present.

eAmerican Cancer Society, Board of Directors, 1975-1981.

eSpringtime Tallahassee, 1974-1984.

Florida State University Theatre Patron, 1978-1980.

«Quarterback Club of Tallahassee, 1977-1979.

eTallahassea Urban League, 1978-1981.

eSeminole Football Booster, 1968-Present.

*Apaiachee Community Mental Health Services Properties Board, 1981-Present. Elected Vice President,
1984.

eAdvisory Board for WFSU-TV (Public Broadcasting System), 1977-1986.

eUnited Way Fund Chairman, Leon County Employees, 1979.

Florida Sheriff's Youth Fund, Corp., 1977-1980.

eCancer Fund Drive Chairman, Leon County Employees, 1978.

eGovernor's Club of Florida, 1981-Present (Founding Member).

«Numerous speaking engagements before civic and professional organizations as well as televislon and
tadio presentations on areas of community and state concerns, 1967-Present.

eLeon County Democratic Executive Committee, 1976-1980.

eApalachee Community Mental Health Services Properties Board, President, 1994-1995.

(April, 2003)
